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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 JEFFREY VOGELSBERG,

                              Plaintiff,
        v.
                                                                 OPINION and ORDER
 YOUNG KIM, CHERYL WATERS, SATINDER
 DHANOA, BRENDA BREDLOW, STEPHANIE
                                                                      17-cv-596-jdp
 WEBSTER, MELISSA BENNETT, TENZIN ENDERS,
 JAMES MATTHEWS, CORRECT CARE SOLUTIONS,
 and DANE COUNTY,

                              Defendants.


       Two motions are before the court: (1) plaintiff Jeffrey Vogelsberg’s request for leave to

proceed in forma pauperis on appeal, Dkt. 189; and (2) Vogelsberg’s request for transcripts,

Dkt. 191.

       Vogelsberg’s trust fund account statement shows that he is unable to prepay the full

appellate filing fee, Dkt. 38, so the motion to proceed in forma pauperis is GRANTED. See 28

U.S.C. § 1915(a). Under § 1915(b)(1), Vogelsberg must make an initial partial payment of the

appellate fee, which the court has calculated as $64.84. Vogelsberg may have until November

20, 2020, to make the initial partial payment by check or money order. If necessary, he may

arrange with prison authorities to pay some or all of the amount from his release account. If he

fails to make the required payment by November 20, the appeal may be dismissed. Vogelsberg

must pay the remainder of the $505 appellate filing fee in monthly installments pursuant to

28 U.S.C. § 1915(b)(2).

       As for Vogelsberg’s transcript request, he did not submit payment to the court reporter,

so I construe his request as including a motion under 28 U.S.C. § 753(f) to prepare transcripts
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at government expense. Under that provision, a party proceeding in forma pauperis is entitled

to a free transcript only after the “trial judge or a circuit judge certifies that the suit or

appeal is not frivolous and that the transcript is needed to decide the issue presented by

the suit or appeal.”

       Vogelsberg hasn’t shown that any transcripts are needed to decide his appeal. There

was no evidentiary hearing or trial in this case. Vogelsberg says that he wants the transcripts

for the preliminary pretrial conference and two telephone status conferences that occurred on

September 12, 2019, and September 18, 2019. But the purpose of the preliminary pretrial

conference was to set the schedule, not to decide any substantive issues. I see no potential

relevance to Vogelsberg’s appeal of anything said at the preliminary pretrial conference.

       As for the September 2019 conferences, their primary purpose was to give Vogelsberg

guidance on preparing his summary judgment submissions. Again, Vogelsberg doesn’t explain

how those instructions are relevant to his appeal. I also extended a deadline and denied

Vogelsberg’s motion to strike a deposition. Vogelsberg may object to the denial of his motion,

but I fully explained that ruling in a written order, see Dkt. 115, at 2–3, so a transcript would

add nothing. So Vogelberg’s request for the preparation of transcripts at government expense,

Dkt. 191, is DENIED. If Vogelsberg wants the court reporter to prepare transcripts, he may

renew his request, but he will have to submit advance payment to the reporter. See 28 U.S.C.




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§ 753(f) (“The reporter may require any party requesting a transcript to prepay the estimated

fee in advance except as to transcripts that are to be paid for by the United States.”).

       Entered November 4, 2020.

                                            BY THE COURT:

                                            /s/
                                            ________________________________________
                                            JAMES D. PETERSON
                                            District Judge




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